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                           Exhibit D
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 15
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 16   [Additional Counsel listed on last page.]

 17
 17   Attorneys for Plaintiffs, CARL ZEISS AG and ASML NETHERLANDS B.V.
 18
 18
                   IN THE UNITED STATES DISTRICT COURT
 19
 19      FOR THE CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 20 CARL ZEISS AG and ASML
 20                                               Case No. 2:17-cv-07083-RGK (MRWx)
 21 NETHERLANDS B.V.,
 21
                                   PLAINTIFFS CARL ZEISS AG AND
 22
 22           Plaintiffs,          ASML NETHERLANDS B.V.’S
 23
 23   v.                           FOURTH SUPPLEMENTAL
                                   RESPONSES TO DEFENDANTS’
 24
 24   NIKON CORPORATION, SENDAI    FIRST SET OF INTERROGATORIES
 25
 25   NIKON CORPORATION, and NIKON [SET NO. 1, NOS. 1-18]
      INC.,
 26
 26           Defendants.           District Judge: R. Gary Klausner
 27
 27                                 Magistrate Judge: Michael R. Wilner
 28
 28
         PLAINTIFFS’ 4TH SUPPLEMENTAL RESPONSES TO INTERROGATORIES
                                                          SET 1 (NOS. 1-18)
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  1         Discovery is ongoing. Plaintiffs reserve the right to their right to revise, amend,
  2   supplement, and modify this response as discovery progresses.
  3   INTERROGATORY NO. 13:
  4          Identify the Zeiss/ASML employees and other persons most knowledgeable
  5
      about Zeiss/ASML’s responses to Nikon’s interrogatories by separately for each
      interrogatory identifying the most knowledgeable persons and stating the subject
  6   matter of their knowledge.
  7
      RESPONSE TO INTERROGATORY NO. 13:
  8         Plaintiffs incorporate by reference each of their General Objections and
  9   Reservations. Plaintiffs further object to this Interrogatory on the following grounds:
 10
 10       It is vague, ambiguous, overly broad, and unduly burdensome, particularly as
 11
 11        to the use of the term “Zeiss/ASML.” Zeiss and ASML are separate entities.
          It is vague, ambiguous, overly broad, and unduly burdensome, particularly as
 12
 12        to the use of the term “persons most knowledgeable” because it is difficult if
 13
 13        not impossible to know who is the most knowledgeable person on a particular
           topic. Plaintiffs identify persons with knowledge below.
 14
 14
          It is overly broad, unduly burdensome, and not proportional to the needs of the
 15
 15        case.
 16       To the extent it seeks information protected by the attorney-client privilege, the
 16
           work product doctrine, common-interest privilege, or any other applicable
 17
 17        privilege or immunity. Plaintiffs will not reveal information protected by the
 18
 18        attorney-client privilege, work product doctrine, common-interest privilege, or
           any other applicable privilege or immunity.
 19
 19       It is premature, as a protective order has not been entered in this case.
 20
 20       Plaintiffs object to providing information regarding the persons most
           knowledgeable about each interrogatory as it is premature and as this request is
 21
 21        prior to the time the parties will designate witnesses as knowledgeable on
 22
 22        30(b)(6) topics.
          Plaintiffs object to the extent Defendants refused to agree to the designation of
 23
 23        testimony on overlapping 30(b)(6) topics from 17-cv-03221.
 24
 24
            Subject to and without waiving Plaintiffs’ specific objections to this
 25
 25
      Interrogatory, General Objections, and Reservations, Plaintiffs respond as follows:
 26
 26
 27
 27
 28
 28                                107
         PLAINTIFFS’ 4TH SUPPLEMENTAL RESPONSES TO INTERROGATORIES
                                                          SET 1 (NOS. 1-18)
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  1   by Prior Art
      by Prior Art to the subjet
                   to the        matter disclosed
                          subjet matter disclosed or
                                                  or claimed
                                                     claimed in
                                                             in the Asserted Patents,
                                                                the Asserted Patents, Asserted
                                                                                      Asserted
  2 Patent
    Patent Applications,
           Applications, or
                         or Related Patents and
                            Related Patents and Applications.
                                                Applications.
  3          Interrogatory No. 15:
             Interrogatory No. 15: Plaintiffs
                                   Plaintiffs incorporate by reference
                                              incorporate by reference their
                                                                       their response to
                                                                             response to
  4   Interrogatory No. 15
      Interrogatory No. 15 and
                           and any
                               any and
                                   and all
                                       all future
                                           future supplementations
                                                  supplementations thereto.
                                                                   thereto. The parties
                                                                            The parties
  5   have
      have not
           not agreed upon an
               agreed upon an protective
                              protective order
                                         order in this case.
                                               in this case. Plaintiffs
                                                             Plaintiffs will
                                                                        will supplement
                                                                             supplement their
                                                                                        their
  6   response to this
      response to this interrogatory
                       interrogatory in
                                     in accordance
                                        accordance with the procedural
                                                   with the procedural schedule
                                                                       schedule in
                                                                                in this
                                                                                   this case
                                                                                        case
  7   as
      as they receive additional
         they receive additional information
                                 information during
                                             during discovery
                                                    discovery and upon entrance
                                                              and upon entrance of
                                                                                of aa
  8   protective
      protective order.
                 order.
  9          Interrogatory No. 16:
             Interrogatory No. 16: Interrogatory
                                   Interrogatory 16
                                                 16 is
                                                    is aa contention
                                                          contention interrogatory
                                                                     interrogatory calling
                                                                                   calling for
                                                                                           for
 10
 10   aa legal
         legal conclusion. Plaintiffs’ experts
               conclusion. Plaintiffs’ experts on
                                               on infringement
                                                  infringement and
                                                               and validity
                                                                   validity to
                                                                            to be
                                                                               be identified
                                                                                  identified in
                                                                                             in
 11
 11   this
      this case.
           case.
 12
 12          Interrogatory No. 17:
             Interrogatory No. 17: The parties have
                                   The parties      not agreed
                                               have not        upon an
                                                        agreed upon an protective
                                                                       protective order
                                                                                  order in
                                                                                        in
 13
 13   this
      this case. Plaintiffs will
           case. Plaintiffs will supplement their response
                                 supplement their response to this interrogatory
                                                           to this interrogatory in
                                                                                 in accordance
                                                                                    accordance
 14
 14   with
      with the
           the procedural
               procedural schedule
                          schedule in this case
                                   in this case as
                                                as they receive additional
                                                   they receive additional information
                                                                           information during
                                                                                       during
 15
 15   discovery
      discovery and
                and upon
                    upon entrance
                         entrance of
                                  of aa protective
                                        protective order.
                                                   order.
 16
 16          Interrogatory No. 18:
             Interrogatory No. 18: The parties have
                                   The parties      not agreed
                                               have not        upon an
                                                        agreed upon an protective
                                                                       protective order
                                                                                  order in
                                                                                        in
 17
 17   this
      this case. Plaintiffs will
           case. Plaintiffs will supplement their response
                                 supplement their response to this interrogatory
                                                           to this interrogatory in
                                                                                 in accordance
                                                                                    accordance
 18
 18   with
      with the
           the procedural
               procedural schedule
                          schedule in this case
                                   in this case as
                                                as they receive additional
                                                   they receive additional information
                                                                           information during
                                                                                       during
 19
 19   discovery
      discovery and
                and upon
                    upon entrance
                         entrance of
                                  of aa protective
                                        protective order.
                                                   order.
 20
 20          Discovery
             Discovery is
                       is ongoing. Plaintiffs reserve
                          ongoing. Plaintiffs reserve the right to
                                                      the right to their
                                                                   their right
                                                                         right to revise, amend,
                                                                               to revise, amend,
 21
 21   supplement,
      supplement, and
                  and modify
                      modify this
                             this response
                                  response as
                                           as discovery
                                              discovery progresses.
                                                        progresses.
 22
 22   FIRST
      FIRST        SUPPLEMENTAL
                   SUPPLEMENTAL        RESPONSE
                                       RESPONSE          TO
                                                         TO   INTERROGATORY NO.
                                                              INTERROGATORY NO.               13
                                                                                              13
 23
 23   (5/25/2018):
 24
 24          Plaintiffs incorporate their prior response as if fully set forth herein. Subject to
 25
 25   and without waiving the foregoing general and specific objections set forth in their
 26
 26   prior responses, which are incorporated herein by reference, and subject to their right
 27
 27   to revise, amend, correct, supplement, modify, or clarify their response, Plaintiffs
 28
 28                                 110
          PLAINTIFFS’ 4TH SUPPLEMENTAL RESPONSES TO INTERROGATORIES
                                                           SET 1 (NOS. 1-18)
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  1   provide the supplemental response below to this interrogatory. Discovery is ongoing.
  2   Plaintiffs note, with regard to contention interrogatories, experts have not yet been
  3   disclosed in this case.
  4         Interrogatories 3, 17, 19: Robert Pressman and Wolfgang Singer are generally
  5   knowledgeable about Plaintiffs’ acquisition of the Accused Patents.
  6         Interrogatory 15: Ulrich Wagemann is knowledgeable about the Phoenix
  7   camera.
  8   SECOND SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 13
  9   (8/08/2018):
 10
 10         Plaintiffs incorporate their prior responses as if fully set forth herein. Subject
 11
 11   to and without waiving the foregoing general and specific objections set forth in their
 12
 12   prior responses, which are incorporated herein by reference, and subject to their right
 13
 13   to revise, amend, correct, supplement, modify, or clarify their response, Plaintiffs
 14
 14   provide the supplemental response below to this interrogatory. Discovery is ongoing.
 15
 15   Plaintiffs provide this response based on the information available to them at this time.
 16
 16   Plaintiffs may supplement this response based on information that may be obtained
 17
 17   during discovery, including information Plaintiffs have requested from the Nikon
 18
 18   Defendants.
 19
 19         Interrogatory Nos. 5 and 6: Plaintiffs incorporate by reference their responses
 20
 20   to Interrogatory Nos. 5 and 6 and any and supplementations thereto.
 21
 21         ’163 Patent: Plaintiffs’ expert on infringement and validity, Dr. Joseph Mundy.
 22
 22          ’335 Patent: Plaintiffs’ expert on infringement and validity, Dr. Richard
 23
 23   Carley.
 24
 24         ’574, ’312, and ’017 Patents: Plaintiffs’ expert on infringement and validity,
 25
 25   Dr. Vivek Subramanian.
 26
 26         Interrogatory No. 11: Plaintiffs incorporate by reference their response to
 27
 27   Interrogatory No. 11 and any and supplementations thereto.
 28
 28                                111
         PLAINTIFFS’ 4TH SUPPLEMENTAL RESPONSES TO INTERROGATORIES
                                                          SET 1 (NOS. 1-18)
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  1   ZEISS_ASML_CDCA7083-00001694; and ZEISS_ASML_CDCA7083-00001695–
  2   ZEISS_ASML_CDCA7083-00001706.
  3         Discovery has just begun and Plaintiffs’ investigation is ongoing. Plaintiffs
  4   reserve the right to supplement their response to this interrogatory in accordance with
  5   the procedural schedule in this case as they receive additional information during
  6   discovery.
  7   INTERROGATORY NO. 15:
  8          Describe the legal and factual basis for Zeiss/ASML’s claim that they are
      entitled to an injunction against the continued alleged infringement of the Asserted
  9
      Patents as to Nikon or any other entity by, without limitation, stating all facts
 10
 10   supporting an injunction (including Zeiss/ASML’s development or sale or any
 11   product embodying any alleged invention claimed in the Asserted Patents) and
 11
      identifying the persons most knowledgeable about, and all Documents concerning,
 12
 12   any such facts.
 13
 13   RESPONSE TO INTERROGATORY NO. 15:
 14
 14         Plaintiffs incorporate by reference each of their General Objections and
 15
 15   Reservations. Plaintiffs further object to this Interrogatory on the following grounds:
 16
 16       It is vague, ambiguous, overly broad, and unduly burdensome, particularly in
 17
 17        its use of the phrase(s): “all facts supporting an injunction.”
          It is vague, ambiguous, overly broad, and unduly burdensome, particularly in
 18
 18        its use of the phrase(s): "all Documents concerning[] any such facts."
 19
 19       It seeks information that is already in Defendants’ possession, a matter of public
 20
           record, or equally available to Defendants.
 20
          It is overly broad and unduly burdensome to the extent it calls for information
 21
 21        not within Plaintiffs’ possession, custody, or control.
 22
 22       It calls for a legal conclusion.
          It calls for expert opinion.
 23
 23       To the extent it seeks information protected by the attorney-client privilege, the
 24
 24        work product doctrine, common-interest privilege, or any other applicable
           privilege or immunity.
 25
 25
 26
 26         Subject to and without waiving Plaintiffs’ specific objections to this
 27
 27   Interrogatory, General Objections, and Reservations, Plaintiffs respond as follows:
 28
 28                                115
         PLAINTIFFS’ 4TH SUPPLEMENTAL RESPONSES TO INTERROGATORIES
                                                          SET 1 (NOS. 1-18)
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  1         The claims of the Asserted Patents are presumed valid, and Defendants bear the
  2   burden to establish invalidity under 35 U.S.C. §§ 101, 102, 102, and 112. Defendants
  3   bear the burden of proof to show that each asserted claim is invalid, and Defendants
  4   have not yet provided invalidity contentions, let alone contentions sufficient to support
  5   a finding that the asserted claims are not valid. Without the necessary and required
  6   contentions to which to respond, Plaintiffs are unable to provide a full response at this
  7   time. Discovery has just begun and Plaintiffs’ investigation is ongoing. Plaintiffs will
  8   supplement their response to this interrogatory in accordance with the procedural
  9   schedule in this case as they receive Defendants’ invalidity contentions and additional
 10
 10   information during discovery.
 11
 11   FIRST    SUPPLEMENTAL           RESPONSE          TO   INTERROGATORY            NO.    15
 12
 12   (5/25/2018):
 13
 13         Plaintiffs incorporate their prior response as if fully set forth herein. Subject to
 14
 14   and without waiving the foregoing general and specific objections set forth in their
 15
 15   prior responses, which are incorporated herein by reference, and subject to their right
 16
 16   to revise, amend, correct, supplement, modify, or clarify their response, Plaintiffs
 17
 17   provide the supplemental response below to this interrogatory.
 18
 18         Traditional equitable principles support an injunction in this case. See eBay
 19
 19   Inc. v. MercExchange L.L.C., 547 U.S. 388 (2006). As Dr. Singer testified during
 20
 20   depositions for the 3221 case, Plaintiff Carl Zeiss is developing a digital camera
 21
 21   currently called Project Phoenix. (Singer Depo. Tr. at 20:10-12.) The Phoenix camera
 22
 22   will compete with the Accused Products. Plaintiff Carl Zeiss, at least, would be
 23
 23   irreparably harmed by Nikon’s continued infringement of the patents-in-suit.
 24
 24   Plaintiffs incorporate by reference their responses to Interrogatories 5 and 6 and all
 25
 25   supplementations thereto describing Nikon’s direct and indirect infringement of the
 26
 26   Accused Patents.     The remedies at law, including damages, are inadequate to
 27
 27
 28
 28                                116
         PLAINTIFFS’ 4TH SUPPLEMENTAL RESPONSES TO INTERROGATORIES
                                                          SET 1 (NOS. 1-18)
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  1   compensate for Plaintiffs’ injury. The balance of hardships favors remedy in equity.
  2   Public interest would not be disserved by a permanent injunction.
  3            Plaintiffs identify the following individual with responsive information:
  4          Dr. Wolfgang Singer: testimony from Dr. Singer’s second day of deposition in
  5            the 3221 case on March 16, 2018:
  6               o Testimony concerning competition between Zeiss’s Phoenix camera and
  7                  Nikon products and competitive products from Sony and Leica; the
  8                  expected customers for Zeiss’s Phoenix camera; and the expected price
  9                  point for the Phoenix camera.
 10
 10   SECOND SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 15
 11
 11   (7/6/2018):
 12
 12            Plaintiffs incorporate their prior response as if fully set forth herein. Subject to
 13
 13   and without waiving the foregoing general and specific objections set forth in their
 14
 14   prior responses, which are incorporated herein by reference, and subject to their right
 15
 15   to revise, amend, correct, supplement, modify, or clarify their response, Plaintiffs
 16
 16   provide the supplemental response below to this interrogatory.
 17
 17            Pursuant to Fed. R. Civ. P. 33(d), responsive information may be obtained from
 18
 18   the        following       documents:        ZEISS_ASML_CDCA7083-00018329–405,
 19
 19   ZEISS_ASML_CDCA7083-00018406–440, ZEISS_ASML_CDCA7083-00018441–
 20
 20   477,      ZEISS_ASML_CDCA7083-00018478–495,                   ZEISS_ASML_CDCA7083-
 21
 21   00018496–504.
 22
 22   THIRD SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 15
 23
 23   (8/08/2018):
 24
 24            Plaintiffs incorporate their prior responses as if fully set forth herein. Subject
 25
 25   to and without waiving the foregoing general and specific objections set forth in their
 26
 26   prior responses, which are incorporated herein by reference, and subject to their right
 27
 27   to revise, amend, correct, supplement, modify, or clarify their response, Plaintiffs
 28
 28                                   117
            PLAINTIFFS’ 4TH SUPPLEMENTAL RESPONSES TO INTERROGATORIES
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  1   provide the supplemental response below to this interrogatory. Discovery is ongoing.
  2   Plaintiffs provide this response based on the information available to them at this time.
  3   Plaintiffs may supplement this response based on information that may be obtained
  4   during discovery, including information Plaintiffs have requested from the Nikon
  5   Defendants.
  6         Plaintiffs identify the following individuals with responsive information:
  7       Mr. Bryan Vannatter: testimony from Mr. Vannatter’s deposition dated July 31,
  8         2018, including without limitation information regarding Nikon’s expected full
  9         frame mirrorless camera and the expected competition in the market from third
 10
 10         parties and from Nikon’s own cameras.
 11
 11         ’335 Patent
 12
 12         Plaintiffs incorporate by reference the opening expert report of Dr. Richard
 13
 13   Carley, Ph.D. served concurrently on August 8, 2018.
 14
 14         ’574, ’312, and ’017 Patents
 15
 15         Plaintiffs incorporate by reference the opening expert report of Dr. Vivek
 16
 16   Subramanian, Ph.D. served concurrently on August 8, 2018.
 17
 17   INTERROGATORY NO. 16:
 18
 18         Describe the level of ordinary skill in the art that Zeiss/ASML contend should
 19
      be applied in determining the validity, or invalidity, for each of the claims of the
 19
      Asserted Patents by, for each claim, and without limitation, stating the level of
 20
 20   ordinary skill including the level of education and experience, and identifying all
 21   factual and legal support for applying that level of ordinary skill.
 21
 22
 22   RESPONSE TO INTERROGATORY NO.16:
 23
 23         Plaintiffs incorporate by reference each of their General Objections and
 24
 24   Reservations. Plaintiffs further object to this Interrogatory on the following grounds:
 25
 25       It is vague, ambiguous, overly broad, and unduly burdensome, particularly in
           its use of the phrase(s): “Zeiss/ASML.” Zeiss and ASML are two separate
 26
 26        entities.
 27
 27
 28
 28                                118
         PLAINTIFFS’ 4TH SUPPLEMENTAL RESPONSES TO INTERROGATORIES
                                                          SET 1 (NOS. 1-18)
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                                 #:20308




  1   Dated: August 8, 2018   FISH & RICHARDSON P.C.
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                              By: /s/ K. Nicole Williams
  3

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 28                                127
         PLAINTIFFS’ 4TH SUPPLEMENTAL RESPONSES TO INTERROGATORIES
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                                            for Plaintiffs, CARL ZEISS
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                                                                        AG and
                                                                           and
 11
 11                               ASML   NETHERLANDS B.V.
                                  ASML NETHERLANDS           B.V.
 12
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        PLAINTIFFS’ 4TH SUPPLEMENTAL RESPONSES TO INTERROGATORIES
                                                         SET 1 (NOS. 1-18)
                                      Case No. 2:17-cv-07083-RGK (MRWx)
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  1                                  PROOF OF SERVICE
  2
             I am employed in the County of San Diego. My business address is Fish &
  3   Richardson P.C., 12390 El Camino Real, San Diego, CA 92130. I am over the age of
      18 and not a party to the foregoing action. I am readily familiar with the business
  4
      practice at my place of business for collection and processing of correspondence for
  5   personal delivery, for electronic transmission, for mailing with United States Postal
      Service, for facsimile, and for overnight delivery by Federal Express, Express Mail,
  6
      or other overnight service.
  7
             On August 8, 2018, I caused a copy of the foregoing document to be served on
  8
      the interested parties in this action by attaching a PDF version of the document to an
  9   email message addressed as follows:
 10
 10
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 11    Diana B. Kruze, dkruze@mofo.com                           NIKON
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 12    MORRISON & FOERSTER LLP                                   CORPORATION,
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 13    San Francisco, CA 94105-2482                              CORPORATION, and
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 14    Tel: (415) 268-7000, Fax: (415) 268-7522                  NIKON INC.
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 24    Service email: Nikon7083MoFoExternal@mofo.com             NIKON INC.
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 27    Washington, DC 20006                                      SENDAI NIKON
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 28                                129
         PLAINTIFFS’ 4TH SUPPLEMENTAL RESPONSES TO INTERROGATORIES
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                                 #:20311




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       Tel: (202) 822-4110                                       CORPORATION, and
  6
       Service email: mduescher@fostermurphy.com                 NIKON INC.
  7
             PERSONAL:  Such envelope was delivered by hand to the offices of
  8
                        the addressee.
  9      x   ELECTRONIC Such document was transmitted by electronic mail to the
 10
 10          MAIL:      addressees’ email addresses as stated above.
             FEDERAL    Such correspondence was deposited on the same day in
 11
 11          EXPRESS:   the ordinary course of business with a facility regularly
 12
 12                     maintained by Federal Express.
 13
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 14
 14         I declare that I am a member of the bar of this Court at whose direction the
      service was made. I declare under penalty of perjury that the above is true and
 15
 15   correct. Executed on August 8, 2018, at San Diego, California.
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 16
                                                /s/K. Nicole Williams
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 17                                                 K. Nicole Williams
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         PLAINTIFFS’ 4TH SUPPLEMENTAL RESPONSES TO INTERROGATORIES
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